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15    [Additional Counsel on Signature Page]
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16

17                                 UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                         SAN FRANCISCO DIVISION
20
      DONALD J. TRUMP, et al.,                         Case No: 21-cv-08378-JD
21
                             Plaintiffs,
22           v.                                        NOTICE OF WITHDRAWAL OF
                                                       COUNSEL
23   TWITTER, INC. et al.,
24                           Defendants.
25

26

27

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      NOTICE OF WITHDRAWAL OF COUNSEL                                      Case No: 21-cv-08378-JD
        Case 3:21-cv-08378-JD Document 144 Filed 01/07/22 Page 2 of 2


                                NOTICE OF WITHDRAWAL OF OCUNSEL
 1

 2              TO THIS HONORABLE COURT, THE CLERK AND COUNSEL OF RECORD:

 3              PLEASE TAKE NOTICE that effective immediately, the following counsel withdraw as

 4   counsel of record:
                                        M. CRIS ARMENTA (177403)
 5                                  CREDENCE ELIZABETH SOL (219784)
 6                                         ARMENTA & SOL, PC
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 8                                             Fax: 310-695-2560
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 9
                                       Email: credence@crisarmenta.com
10              Request is made to remove the attorneys from the docket of this case. At least one
11   member of the Bar of this Court will continue to serve as counsel of record for the following
12   parties:
13                     DONALD J. TRUMP, the Forty-Fifth President of the United States
                        LINDA CUADROS, AMERICAN CONSERVATIVE UNION
14                           RAFAEL BARBOZA, DOMINICK LATELLA
                                WAYNE ALLYN ROOT, NAOMI WOLF
15
            I request that the Clerk update the docket as indicated above to REMOVE the following
16
     counsel.
17
     Dated: January 7, 2021
18                                       Signature        /s/ M. Cris Armenta
19                                       Name             Maria C. Armenta aka M. Cris Armenta
20
                                         Bar Number       177403, California
21

22

23
                                         Signature        /s/ Credence Elizabeth Sol
24
                                         Name             Credence Elizabeth Sol
25
                                         Bar Number       219784, California
26

27

28

     NOTICE OF WITHDRAWAL OF COUNSEL
